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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO

  CASE NO.: 1:21-cv-03266-NRN

  CARLOS CUESTA,

            Plaintiff,
  v.

  ROCK 1 LLC and DP RETAIL 101 LLC,

              Defendants.


                             MOTION TO ATTEND SCHEDULING
                         CONFERENCE BY TELEPHONIC APPEARANCE


         Plaintiffs, CARLOS CUESTA respectfully request the opportunity to participate

  telephonically in the March 2, 2022 Scheduling Conference [D.E. 4]. The Parties have

  conferred about and will file a Proposed Scheduling Order, have otherwise met the

  obligations of D.C.COLO.LCivR 7.1(a) and are both in agreement with the tendered

  motion.

         1.       Undersigned counsel for Plaintiff primarily works and resides in Miami,

  Florida and is currently not scheduled to work out of the Colorado office that week.

         2.       Given the travel time and expense required to reach the courthouse, the

  anticipated short duration of the Scheduling Conference, and COVID risks and restrictions

  currently involved in travel, the ability for the Parties to attend by telephone would not

  negatively impact the Scheduling Conference.

         3.       Undersigned counsel for Plaintiff can participate in a telephonic conference

  via a landline, since counsel for the Plaintiff is not scheduled to be in Colorado at the time

  of the subject Scheduling Conference.




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         4.     Counsel for Defendant have been in contact with undersigned and have

  indicated no objection to Plaintiff’s counsel’s request to appear telephonically.

         5.     None of the parties will be prejudiced by the request in this Motion.

         For the above stated reasons, the Court should permit counsel for the parties to

  participate in the March 2, 2022 Scheduling Conference by telephone via a land line.

  Respectfully submitted this February 23, 2022.

                                                  /s/ Anthony J. Perez
                                                  ANTHONY J. PEREZ, ESQ.
                                                  GARCIA-MENOCAL & PEREZ, P.L.
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                                                  Telephone: 303-386-7208
                                                  Facsimile: 305-553-3031
                                                  Attorneys for Plaintiff


                                CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

  email upon all parties of record on February 23, 2022.

                                            Respectfully Submitted,

                                            GARCIA-MENOCAL & PEREZ, P.L.
                                            Attorneys for Plaintiffs
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                                            Miami, FL 33155
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                                            By: /s/ Anthony J. Perez
                                            ANTHONY J. PEREZ




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